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ClVlL COVER SHEET
l. (a) PLA|NT|FFS ( Check box if you are representing yourself |:l ) DEFENDANTS (Check box if you are representing yourself |:| )
SHERRY K|NNE DEPUY ORTHOPAED|CS, |NC. n/k/a MED|CAL DEV|CE BUS|NESS
SERV|CES |NC.; JOHNSON & JOHNSON; JOHNSON & JOHNSON
SERV|CES, |NC; THOMAS SCHMALZR|ED, M.D.; et al.
(b) County of Residence of First Listed Plaintiff Los Angeles County of Residence of First Listed Defendant
(EXCEPTIN U.S. PLAINTIFF CASE$) (IN U.S. PLAlNTIFF CASE$ ONLY)
(c) Atto rneys (Firm Name, Address and Telephone Number) |f you are Attorneys (Firm Name, Address and Telephone Number) |f you are
representing yourself, provide the same information. representing yourself, provide the same information.
Pau| R. Kiese|, Me|anie Meneses Pa|mer, Cherisse Heidi A. C|eofe David C. A||en, Ke||ey S. O|ah, Gabrie||e J. Anderson-Thompson
K|ESEL LAW LLP BARNES & THORNBURG LLP
8648 Wi|shire B|vd. 2029 Century Park East, Suite 300
Beverly Hills, cA 90211; (310) 854-4444 Los Angeles, CA 90067; (310) 284-3880
ll. BASIS oF JURISDICTION (P|ace an X in one box only_) lll. ClleENSHlP OF PR|NC|FAL PART|ES-For Diversity CaSeS Or\ly
(P|ace an X in one box for plaintiff and one for defendant)
_ PTF DEF . . PTF DEF
1. U.S. Government l:l 3. Federal Questlon (U.S. Citizen ofThiS State 1 l:l 1 l"€<>rP_<>l'Hte_d Of _Prln€lpal Pla€e l:l 4 l:l 4
Plaintiff Government Not a Party) °f Bus'ness m th'$ State

Citizen ofAnother State l:l 2 l:l 2 incorporated and PrincipalPlace l:l 5 5
of Business in Another State

 

 

2. U.S. Government 4. Diversity (|ndicate Citizenship Citizen or Subject of a _ _
Defendant - of Parties in item m) Foreign country l:l 3 l:l 3 F°'e'g“ Na“°“ l:l 6 E 6
|V. 0R|G|N (P|ace an X in one box only.) 6a Multldlstrlct 8' Multldlstrlct

1.0rigina| 2.Removed from 3.Remanded from 4.Reinstated or 5.Transferred from Another l_iti ation_ l_iti ation_
l:l Proceeding State Court l:l Appellate Court l:l Reopened l:l District (Specify) l:l ~l'ia?isfei l:l Dligct l:lle

 

v.REQuEsTEDlN coMPLAlNT: JuRY DEMAND; Yes [| No (Check "Yes" only if demanded in Comp|aint.)

cLAss AchoN under F.R.cv.P. 23: ljves No |j MoNEY DEMANDED lN coMPLAlNT: $ Excess of $75,000

Vl. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
28 U.S.C. Sections 1332 and 1441

 

 

V||. NATURE OF SU|T (P|ace an X in one box only).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| OTHER STATUTES CCNTRACT REAL PROPERTY CQNT. lMMIGRATION PRISCNER PETITIONS FR°PERTY RIGHTS
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State Statutes Ejectment pindi,d l_labllltv Securlty Act

 

 

 

 

 

 

FOR OFF|CE USE 0NLY: Case Number:
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ClVlL COVER SHEET

Vlll. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's Genera| Orders, upon review by the Court of your Comp|aint or Notice of Remova|.

 

QUEST|ON A: Was this case removed
from state court?
Yes |:| No

lf "no, " skip to Question B. lf "yes," check the
box to the right that applies, enter the
corresponding division in response to
Question E, below, and continue from there.

STATE CASE WAS PEND|NG lN THE COUNTY OF:

lNlTlAL DlVlSlON lN CACD lS:

 

 

 

Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
|:| Orange Southern
|:| Riverside or San Bernardino Eastern

 

 

 

QUEST|ON B: ls the United States, or
one of its agencies or employees, a
PLA|NT|FF in this action?

|:| Yes No

lf "no, " skip to Question C. lf "yes," answer
Question B.1, at right.

B.1. Do 50% or more of the defendants who reside in
the district reside in Orange Co.?

-)'

check one of the boxes to the right

YES. Your case wi|| initially be assigned to the Southern Division.

|:| Enter "Southern" in response to Question El below, and continue

from there.

 

|:| NO. Continue to Question B.2.

 

B.2. Do 50% or more of the defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

-)'

YES. Your case will initially be assigned to the Eastern Division.

|:| Enter "Eastern" in response to Question E, below, and continue

from there.

 

NO. Your case wi|| initially be assigned to the Western Division.

|:| Enter "Western“ in response to Question E, below, and continue

from there.

 

 

QUEST|ON C: ls the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

|:| Yes |Z| No

lf "no, " skip to Question D. lf "yes," answer
Question C.1, at right.

C.1. Do 50% or more ofthe plaintiffs who reside in the
district reside in Orange Co.?

-}

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.

|:| Enter "Southern" in response to Question E, below, and continue

from there.

 

|:| NO. Continue to Question C.2.

 

 

C.2. Do 50% or more ofthe plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

-)'

check one of the boxes to the right

YES. Your case will initially be assigned to the Eastern Division.

|:| Enter "Eastern" in response to Question E, below, and continue

from there.

 

 

NO. Your case will initially be assigned to the Western Division.

|:| Enter "Western“ in response to Question E, below, and continue

 

from there.
A. B. C.
. . . Riverside or San Los Angeles, Ventura,
. 7
QUEST|ON D. Locatlon of plaintiffs and defendants. Orange County Bemardlno County Santa Barbara, or San

Luis Obispo County

 

|nd_icate the location(s) in which 50% or more o_f plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)

l:l

l:l

 

indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices

apply.)

 

l:l

l:l l:l

 

 

 

 

D.1. ls there at least one answer in Co|umn A'.'

|:| Yes

lf "yes," your case will initially be assigned to the
SOUTHERN DlVlSlON.
Enter "Southern" in response to Question E, below, and continue from there.

lf "no," go to question D2 to the right.

-No

-}

D.2. ls there at least one answer in Co|umn B?

|:| Yes |:| No

lf "yes," your case will initially be assigned to the
EASTERN DlVlSlON.

Enter "Eastern" in response to Question E, below,

lf "no," your case will be assigned to the WESTERN DlVlSlON.

Enter “Western“ in response to Question E, below,

 

QUEST|ON E: |nitial Division?

lNlTlAL DlVlSlON lN CACD

 

Enter the initial division determined by Question A, B, C, or D above: »

WESTERN

 

 

QUEST|ON F: Northern Counties?

 

 

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

|:| Yes No

 

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ClVlL CCVER SHEET

Page 2 of 3

 

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civiL covER sHEET

lX(a). lDENTlCAL CASES: Has this action been previously filed in this court? NO |:| YES

lf yes, list case number(s):

 

lX(b). RELATED CASES: ls this case related (as deHned below) to any civil or criminal case(s) previously filed in this court?
|:| NO YES

|fyeS. list CaSe number($): For list of related cases, see Attachment "A." All related cases have transferred to Judge Wu.

 

Civil cases are related when they (check all that apply):
|:l A. Arise from the same or a closely related transaction, happening, or event;
B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. For other reasons would entail substantial duplication of labor if heard by differentjudges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):
|:| A. Arise from the same or a closely related transaction, happening, or event,'
|:| B. Call for determination of the same or substantially related or similar questions of law and fact; or

C. lnvolve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

 

X. SlGNATURE OFATl'ORNEY _ i l _ _ - __ _. _
(ORSELF-REPRESENTED LlTlGANT): ` . . : ' -` '- `- ` DATE: September 5, 2018

 

Notice to CounsellParties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action
All claims for health insurance benehts (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
861 l'llA include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))
862 BL All claims for “Black Lung“ benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
923)
863 DlWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus

all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

863 DlWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
864 SS|D amended
865 RS| All claims for retirement (old age) and survivors benehts under Title 2 of the Social Security Act, as amended.

(42 u.s.c. 405 (g))

 

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